                 

 

 

“€.~

 

 

 

 

Student Handbook
2014-2015

WASHINGTONAND LEE
` UNI-\/ERSITY

 

 

STUDENT HANDBOOK
2014»2015

 

WASHINGTONAND LEE

 

UNIVERSITY

Lexingtcm, Virginia

Www.Wlu.edu

The policies of Washington and Lee University are under continual examination and
revision. This Student Handbook is not a contract; it merely presents the policies in
effect at the time of publication and in no way guarantees that the policies will not
change. For more updated policies and information see www.wla.edu.

This year's Student Handbook Was last updated in February 2015. Please check the W&L Student
Affairs Website, ao.Wlu.eda/Student-handbook. for the most recent version.

